8:15-cr-00178-LSC-SMB                  Doc # 118     Filed: 04/29/16         Page 1 of 1 - Page ID # 585



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )                     8:15CR178
                          Plaintiff,                    )
                                                        )
        vs.                                             )                       ORDER
                                                        )
ANTONIO BENITEZ GONZALEZ,                               )
                                                        )
                          Defendant.                    )


        This matter is before the court on the motion for an extension of time by defendant Antonio Benitez
Gonzalez (Filing No. 117). Gonzalez seeks until May 29, 2016, in which to file pretrial motions in accordance
with the progression order. Gonzalez's counsel represents that government's counsel has no objection to the
motion. Upon consideration, the motion will be granted.


        IT IS ORDERED:
        Defendant Gonzalez's motion for an extension of time (Filing No. 117) is granted. Gonzalez is given
until on or before May 31, 2016, in which to file pretrial motions pursuant to the progression order. The ends
of justice have been served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between

April 29, 2016, and May 31, 2016, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 29th day of April, 2016.
                                                             BY THE COURT:

                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
